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                                                                  United States District Court
                                                                    Southern District of Texas

                                                                       ENTERED
                                                                       April 01, 2020
                                                                    David J. Bradley, Clerk




                                       §                            01460
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                                       §
                                       §
                                       §               00216




   1. PURPOSE



information (“ESI”)
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                      “     ”




                                                        .

    2.

              “Requesting Party” means and refers to the Pa



              “Producing Party” means and refers to the Party upon whom a request for the



              “Document” or “Documents” means a writing as defined by FRCP Rule 1001,




manner in which the record has been stored, and also specifically includes any “electronically

stored information.”

              “Electronically stored information” or “ESI” as used herein has the same meaning



              “Hard Copy Document” means Documents existing in paper form at the time of



              “Native Format” means and refers to the format of ESI


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            “Metadata” means: (i)




            “Media” means an object or device, real or virtual, including but not limited to



            “Optical Character Recognition” or “OCR” means the



            “Hash Value” is a unique numerical identifier that can be assigned to a file, a




            “Confidentiality Designation” means the legend affixed to Documents identified




            “Load files” means electronic files provided with a production set of documents


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and images used to load that production set into a receiving party’s document review platform



              “And” and “or” shall be construed conjunctively

                                                ., “and” shall be construed to mean “and/or”.

    3.




    4.




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         Plaintiffs’ Steering Committee Identifies:
                             1




                713.221.8300




                713.229.1510

    5.




                         7



                1.



                2.


1
 The appointment as PSC ESI Liaison Counsel entails acting as the PSC’s representative in
communicating with Defendant’s ESI Liaison, other Plaintiffs’ Counsel with ca




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                                                                ., “HR head,” “scientist,” and

               “marketing manager.” T



               3.

                                                                                       .




                                                           .



               1.

    dom access memory (“RAM”), or ESI that would only be accessible by taking a forensic (bit




                                ,

custodian’s device.

               2.



               3.




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communications (in addition to Defendant’s email system), the parties shall meet



              4.



              5.




              6.

              7.



              8.




    6.




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    7.




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              Word Processing Documents.

Word) that contain any form of redline, comments, or “track changes” shall be produced with the



                                            .




                          .

                                   .

legible, unique page identifier (“Bates Number”) electronically embossed onto each page at a




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             File Naming Conventions.




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                                        a party’s




“CustodiansAll” metadata field w




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                                                                                            .




             1.




             2.




             3.

             spine, “post it note,” or any other label, the information on the label shall be




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               4.




     8.




                                                    .

     9.




(“        native production document”), or an




                                                will be used (the “event”).

          b




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                                           .




(“         native production document”),



                                                                      the MD5




     10.




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                         1st        April


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               31, 2020




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                     1901
                                     PLAINTIFFS’ CO
                      2333
                     2331




                      3700
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                                         PLAINTIFFS’ CO




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                                     PLAINTIFFS’ CO

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              31, 2020

                                         BAKER BOTTS L.L.P.

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